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Yeon (Rev. 11/13) Search and Seizure Warrant (Page 2}

 

 

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
S14 M+ 00032 (f14 [19 fA
Inventory made in the presence of :
ViA

 

Inventory of the property taken and name of any person(s) seized:

Phene has bre cnce ke el out of tte ATF Riverside Vaujt

Loe Seacehn warcathy cenice ana hata analysis.

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

| designated judge.
Date: as / 4 4 LAC —

 

v . . re
Executing officer's signature

Paul Kicwan ‘ Special Agerr+

Printed name and title

 

 

 

 
